          Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 1 of 11




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 WAYNE KELLEY,                                        Civil Action No.

      Plaintiff,

 v.                                                   JURY TRIAL DEMANDED

 JADE PROPERTIES, LIMITED
 LIABILITY COMPANY

      Defendant.



                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff, Wayne Kelley (“Plaintiff” or “Mr. Kelley”), by and

through undersigned counsel, hereby files his Complaint against Jade Properties,

Limited Liability Company (“Defendant”) and alleges as follows:

                           NATURE OF COMPLAINT

                                        1.

        Plaintiff brings this action to recover damages for Defendant’s unlawful

discrimination against him in violation of the Uniform Services Employment and

Re-employment Rights Act, (“USERRA”) in order to remedy unlawful employment

practices on the basis of Plaintiff’s service in the military, to vindicate Plaintiff’s

rights and the rights of other service members, and to ensure fair treatment and equal

                                             1
          Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 2 of 11




opportunity to all employees who also serve in the uniformed services of the United

States.

                          JURISDICTION AND VENUE

                                         2.

          Plaintiff invokes the jurisdiction of this Court pursuant to 38 U.S.C. § 4301

et seq. (USERRA), 28 U.S.C. §§ 1331 and 1343(a)(4), and 28 U.S.C. §§ 2201 and

2202.

                                         3.

        Defendant is subject to specific jurisdiction in this Court over the claims

asserted in this action. In accordance with 28 U.S.C. §§ 1391(b)(1) and (2), venue is

appropriate in this Court.

                                      PARTIES

                                          4.

        Plaintiff is a legal resident and citizen of the United States. Plaintiff is a

member of the Georgia Army National Guard and is a “covered employee” within

the meaning of USERRA, 38 U.S.C. § 4303(3) in that he was employed by Jade

Properties, Limited Liability Company, an employer under the Act.




                                              2
        Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 3 of 11




                                          5.

      Defendant is a domestic limited liability company registered and authorized

to do business in Georgia and is a covered “employer” within the meaning of 38

U.S.C. § 4394(4) in that it is an entity that pays wages for work and had control over

employment opportunities for its employees, including Plaintiff. Defendant has

conducted business within this District at all times relevant.

                                          6.

      At all such times, Plaintiff was an “employee” of Defendant as defined under

38 U.S.C. § 4303(3).

                                          7.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, Jarrett Haswell, 1011 Hall Avenue, Tifton,

Georgia, 31793.

                           FACTUAL ALLEGATIONS

                                          8.

      Plaintiff Wayne Kelly began his employment with Defendant on February 24,

2020 as a Maintenance Director.




                                          3
        Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 4 of 11




                                         9.

      Plaintiff serves in the Georgia Army National Guard. Defendant was aware of

Plaintiff’s status as a member of the Georgia Army National Guard.

                                        10.

      On August 2, 2020, Plaintiff notified his supervisor, April Ortiz, that he had

orders requiring him to serve on temporary active duty from August 24, 2020 to

September 4, 2020.

                                        11.

      Plaintiff began his temporary active duty status on August 24, 2020.

                                        12.

      Plaintiff completed his temporary active duty status on September 4, 2020.

                                        13.

      Defendant terminated Plaintiff’s employment on September 8, 2020, four

days after he completed his military leave.

                                        14.

      Mr. Kelley’s termination was done in bad faith and in direct violation of his

rights under USERRA.

                                        15.

      Defendant terminated Mr. Kelley because of his military service.


                                         4
        Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 5 of 11




                                          16.

      Prior to Plaintiff performing his military leave, he had not been disciplined for

his job performance.

                                          17.

      The effect of Defendant’s above-stated actions has been to deprive Plaintiff

of employment opportunities, income in the form of wages, prospective employment

benefits, including social security and othis benefits to which he would have been

entitled but for Defendant’s illegal actions.

                                          18.

      Over the course of Plaintiff’s employment, he routinely worked more than

40 hours in a work week.

                                          19.

      Plaintiff was not paid one and one-half times his regular hourly rate of pay

for hours he worked over 40 hours in a work week.

           COUNT I: DENIAL OF EMPLOYMENT RETENTION
                     IN VIOLATION OF USERRA

                                          20.

      Plaintiff re-alleges paragraphs 1-19 as if set forth fully hisein.




                                           5
        Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 6 of 11




                                          21.

      As set out above, Plaintiff was a covered employee as that term is defined by

USERRA, specifically 38 U.S.C. § 4303(3).

                                          22.

      As a covered employee, Plaintiff was entitled to the benefits and protections

of USERRA based on his service in the Army National Guard.

                                          23.

      By notifying Defendant of his orders for active duty, Plaintiff gave proper

notice of his need for military leave under USERRA.

                                          24.

      Defendant’s actions were committed willfully, intentionally and with reckless

disregard for Plaintiff’s right to be free from discrimination on account of his service

in the military reserves.

                                          25.

      The effect of Defendant’s actions has been to deprive Plaintiff of a job, as well

as income in the form of wages, health insurance, prospective retirement benefits,

social security, and othis benefits due his solely because of his exercise of his rights

under USERRA.




                                           6
         Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 7 of 11




                                           26.

       As a result, Plaintiff is entitled to both equitable and monetary relief for

Defendant’s violation of USERRA, as set out at 38 U.S.C. § 4323, including, but not

limited to, back pay, front pay or reinstatement, attorneys’ fees and costs of

litigation.

                                           27.

       Plaintiff is also entitled to liquidated damages for the violation of his rights

under USERRA, 38 U.S.C. § 4323(d)(1)(C).

          COUNT II: RETALIATION IN VIOLATION OF USERRA

                                           28.

       Plaintiff re-alleges paragraphs 1-18 as if set forth fully hisein.

                                           29.

       As set out above, Plaintiff was a covered employee as that term is defined by

USERRA, specifically 38 U.S.C. § 4303(3).

                                           30.

       As a covered employee, Plaintiff was entitled to the benefits and protections

of USERRA on account of his service in the Army National Guard.




                                            7
        Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 8 of 11




                                          31.

      By notifying Defendant of his orders to report for active military duty,

Plaintiff gave proper notice of his need for military leave under USERRA.

                                          32.

      By intentionally terminating Plaintiff’s employment on account of his absence

for military, Defendant retaliated against Plaintiff on account of his exercise of his

rights under USERRA and in violation of USERRA’s prohibition against retaliation

under 38 U.S.C. § 4311(b).

                                          33.

      Defendant’s actions were committed willfully, intentionally and with reckless

disregard for Plaintiff’s right to be free from discrimination on account of his service

in the military reserves.

                                          34.

      The effect of Defendant’s actions has been to deprive Plaintiff of a job, as well

as income in the form of wages, health insurance, prospective retirement benefits,

social security, and othis benefits due his solely because of his exercise of his rights

under USERRA.




                                           8
         Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 9 of 11




                                          35.

       As a result, Plaintiff is entitled to both equitable and monetary relief for

Defendant’s violation of USERRA, as set out at 38 U.S.C. § 4323, including, but not

limited to, back pay, front pay or reinstatement, attorneys’ fees and costs of

litigation.

                                          36.

       Plaintiff is also entitled to liquidated damages for the violation of his rights

under USERRA, 38 U.S.C. § 4323(d)(1)(C).


       WHISEFORE, Plaintiff prays for judgment and relief as follows:

       (a)          Compensatory damages, including general damages for mental

                    and emotional suffering caused by Defendant;

       (b)          Punitive damages based on Defendant’s willful, malicious,

                    intentional,   and   deliberate   acts,   including   ratification,

                    condonation and approval of said acts;

       (c)          Liquidated damages pursuant to 38 U.S.C. § 4323 for violations

                    alleged under Plaintiff’s USERRA Claims;

       (d)          Damages sufficient to make Plaintiff whole by providing for out-

                    of-pocket losses as well as back pay in an amount equal to the

                    sum of any wages, salary, employment benefits or othis

                                           9
 Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 10 of 11




            compensation denied or lost as a result of Defendant’s unlawful

            and discriminatory acts, togethis with interest thiseon, all in an

            amount to be proven at trial;

(e)         Reasonable attorneys’ fees and expenses of litigation as to all

            claims;

(f)         Trial by jury as to all issues;

(g)         Prejudgment interest at the rate allowed by law;

(h)         Declaratory relief to the effect that Defendant have violated

            Plaintiff’s statutory rights;

(i)         Injunctive relief of reinstatement, or front pay in lieu thiseof, and

            prohibiting Defendants from furthis unlawful conduct of the type

            described hisein; and

(j)         All othis relief to which she may be entitled.


Respectfully submitted, this 31st day of March 2021.


               [Signatures appear on following page.]




                                    10
       Case 1:21-cv-01300-CAP Document 1 Filed 03/31/21 Page 11 of 11




                                         BARRETT & FARAHANY

                                         s/ Ian E. Smith
                                         Ian E. Smith
                                         Georgia Bar No. 661492

                                         Attorney for Wayne Kelley


1100 Peachtree Street, N.E., Suite 500
Atlanta, GA 30309
(404) 214-0120
(404) 214-0125 Facsimile
iesmith@justiceatwork.com




                                           11
